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                      EXHIBIT 1 –
June 22, 2020 USDA Inspection Report
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                                                                                                                   BBOONE
                                          United States Department of Agriculture
                                         Animal and Plant Health Inspection Service                 2016082569850135 Insp_id

                                                   Inspection Report


Jeffrey Lowe                                                      Customer ID:        332646
25803 N C R 3250                                                     Certificate:     73-C-0230
Wynnewood, OK 73098                                                           Site:   001
                                                                              JEFFREY LOWE



                                                                             Type:    ROUTINE INSPECTION
                                                                             Date:    22-JUN-2020

2.40(a)(2)        DIRECT
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
The written program of veterinary care was not available at time of inspection. A copy was forwarded on June 23,
2020 and the frequency for regularly scheduled visits with the attending veterinarian was written to occur monthly or
as needed. When the attending veterinarian was contacted and asked if they were still the attending veterinarian
they stated that was up for discussion since the last two visits were in March 2019 for work on a tiger and then in
February 2020 for writing health certificates for the transport of tigers.


Regularly scheduled visits in accordance with what is agreed upon in the written program of veterinary care with the
attending veterinarian are needed to consult on the proper preventive care and nutritional needs of different
species. Other facility issues including veterinary care can be observed and expert consultation received to
enhance the program of veterinary care and to correct any deficiencies found.


Each dealer and exhibitor shall assure that the attending veterinarian has appropriate authority to ensure the
provision of adequate veterinary care and to oversee the adequacy of other aspects of animal care and use.


Correct by June 30, 2020


2.40(b)(2)
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
Two geriatric wolves were in an exhibit by themselves far removed from the rest of the wolves. One was very
reluctant to rise and the other had pressure sores on both rear hocks. The facility representative stated they were
old and arthritic and so were removed from public contact. The facility representative also stated that they thought
the old wolves were not in pain. One inspector asked if the veterinarian had been consulted and the licensee stated
they had been recently vaccinated. In a subsequent telephone conversation with the veterinarian that had
vaccinated them, they stated that they had prescribed medication for the wolves and recommended the facility
provide proper bedding for the animals. The facility representatives were not aware of any medication(s) being




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                                                                                                  Date:
                  BOONE BONNIE, D V M             USDA, APHIS, Animal Care
                                                                                                  23-JUN-2020
        Title:    VETERINARY MEDICAL OFFICER 6119

Received By:

                  JEFF LOWE
                                                                                                  Date:
        Title:    LICENSEE                                                                        23-JUN-2020
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prescribed or given to the old wolves. Concrete is the floor of the wolves enclosure. A few strands of hay were
present which the representative called bedding. The amount of hay was insufficient for bedding as prescribed by
the veterinarian.


Arthritis can be painful affecting the animal’s mobility and willingness to participate in daily activity of the animals
and may interfere with obtaining water and food if reluctant to rise. Confinement on concrete can exacerbate pain
and discomfort. Proper husbandry and medical care must be provided.


The licensee is not following the instructions of the veterinarian to provide medication and bedding for the wolves.
The licensee must ensure that all animals receive adequate veterinary care at all times and that the instructions are
followed to ensure proper medical care and treatment for the animals.


Correct by June 28, 2020


2.40(b)(2)          CRITICAL
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
A 17 year-old male Tigon named "Young Yi” allegedly died from renal failure sometime near the weekend of June
13, 2020 according to facility representatives. "Young Yi" was not examined by their attending veterinarian therefore
was not diagnosed nor treated for anything. The other veterinarian they frequently use had not examined,
diagnosed or treated him recently either. The attending veterinarian stated he was in the park in February 2020
writing health certificates for animals departing the facility but did not examine other animals nor was asked to look
at any other animals. The facility representative texted : "We assume he had renal failure. He was 17 years old. He
had no teeth. At this age most of them pass on due to renal failure. We could tell by the appearance of his urine."
The licensee also stated he was not drinking like an animal his size should drink for the last few days of his life.


In order to minimize negative animal welfare impacts such as pain and suffering, the attending veterinarian must be
consulted in order to diagnose and treat animals properly. Frequent and ongoing communication with the attending
veterinarian is necessary if animals are not improving with treatment or if new clinical signs are observed so that
adequate care is properly implemented.


The facility must consult with their attending veterinarian in order to use appropriate methods to prevent, control,
diagnose, and treat diseases and injury.




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                                                                                                 Date:
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                                                                                                 23-JUN-2020
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                    JEFF LOWE
                                                                                                 Date:
        Title:      LICENSEE                                                                     23-JUN-2020
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2.40(b)(2)       DIRECT
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
"Nala" an approximately 16 week-old lion cub was lethargic, depressed, and thin and would not get up out of the
mud from a sitting position even after prompting. The inspectors were able to walk up very close to the enclosure
and she did not rise and had minimal reactions and head movements. She had a string of purulent nasal discharge
hanging from her right nostril and had an accumulation of green discharge in her eyes. Her respiration was shallow
and rapid. The inspection was halted immediately by the inspector and the facility representative was instructed to
obtain immediate veterinary care for the animal. When the facility personnel picked her up to transfer her to the
transport crate she was minimally responsive, did not move her limbs, and landed in the manner they had placed
her. Although the cub was seen by a veterinarian 6 days prior for ear wounds that were sutured as well as for a
toenail issue, it was not due to a respiratory illness which was observed by the inspectors on this inspection.


Continued communication with the attending veterinarian is necessary if animals are not improving with treatment or
if new clinical signs are observed so that adequate treatment plans are properly implemented.


The facility must consult their attending veterinarian in order to use appropriate methods to prevent, control,
diagnose, and treat diseases and injuries.


The cub was taken immediately to a veterinarian.


2.40(b)(3)       DIRECT
ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND EXHIBITORS).
2.40(b)(3) DIRECT ATTENDING VETERINARIAN AND ADEQUATE VETERINARY CARE (DEALERS AND
EXHIBITORS).


A Fisher Cat in the back of the park was lame on its left rear leg during the inspection. It also had extreme thinning
of the hair on its tail. The attending veterinarian had not been consulted nor had any treatment been provided at the
time of inspection since the condition had not been observed or reported by facility representatives.


A grizzly bear at the facility was observed to be extremely thin. A black bear was observed to be underweight. Both
bears at the facility were observed to be exhibiting a heightened activity level. They were both extremely active and
aggressive, lunging at the cage edges and reaching through the bars at anything close to their enclosures. The
female grizzly bear named "Gizzy” is emaciated. The spinous processes of the vertebral bodies and hip bones are




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                                                                                              23-JUN-2020
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easily visible. The facility representative states that the female black bear named Eve is being fed yogurt, eggs,
rotisserie chicken and fruit.


Bears are omnivores and require dietary needs that change with the seasons. Proper nutrition is key in maintaining
bear health. Formulating diets with a veterinarian familiar with bears or a zoo nutritional consultant will help to
ensure proper nutrition. Other contributing factors such as internal parasites must be ruled out for animals with
body conditions such as poor hair coat or inability to gain weight. Sub-optimal conditions must be observed and
communicated to the attending veterinarian.


A mechanism of direct and frequent communication is required so that timely and accurate information on problems
of animal health, behavior, and well-being is conveyed to the attending veterinarian. The facility must consult their
attending veterinarian for an adequate nutritional and parasite control program for these animals and it must be
followed.


Correct by June 25, 2020



3.75(c)(1)(ii)
HOUSING FACILITIES, GENERAL.
In the indoor portion of the non-human primate building, the enclosure housing the lemurs has a metal resting
platform. This metal resting platform has areas that have rusted through creating defects with sharp edges.


This creates a risk of injury from sharp edges for the enclosed animals. Metal surfaces with rust also creates a
surface conducive to the collection of organic material and subsequent bacterial growth which combined with an
injury can lead to infection.


The facility must repair or replace this section, and must maintain metal surfaces throughout the facility to protect
the welfare of the animals.


Corrected on June 22, 2020.


3.125(a)
FACILITIES, GENERAL.
-In the rear of the park, an enclosure containing 2 wolves has a metal grate sub-floor that is exposed along two of




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                                                                                               Date:
                  BOONE BONNIE, D V M            USDA, APHIS, Animal Care
                                                                                               23-JUN-2020
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Received By:

                  JEFF LOWE
                                                                                               Date:
        Title:    LICENSEE                                                                     23-JUN-2020
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the sides including under the water receptacle. This exposed grate has openings approximately 4 x 4 inches wide
that could entrap a foot or limb.


-In the front of the park, an enclosure containing one African porcupine has a metal grate sub-floor that is exposed
in the corner and side containing the water receptacle. This exposed sub-floor has openings approximately 4 x 4
inches wide that create a possible injury threat of limb entrapment to the enclosed animal.


-In the front of the park, an enclosure containing one Fisher cat has a metal grate sub-floor that is exposed in the
corner and side containing the water receptacle. This exposed sub-floor has openings approximately 4 x 4 inches
wide that create a possible injury threat of limb entrapment to the enclosed animal. This animal was observed to be
lame during the inspection.


-In the kangaroo enclosure a piece of metal fencing has an exposed vertical edge that is about 4 inches tall and
there is an approximately 4 inch gap between the metal fencing and the enclosure's wooden fence. The exposed
metal has the potential for limb entrapment between it and the wooden fence.


-In the rear of the park a tiger enclosure has a metal reinforcement approximately ten inches high located next to
the metal fence. This solid metal reinforcement is no longer closely adhered to the fence and there is a 3-4 inch
gap between it and the fence. This space is a potential hazard for limb entrapment and the collection of debris or
organic matter.


A trapped limb can result in a fracture or soft tissue injury that can be painful and become infected.


Facilities shall be maintained in good repair to protect the animals from injury and to contain the animals.


Corrected on June 22, 2020.




3.131(d)          DIRECT
SANITATION.
There is a large pile of primarily wood debris in the back of the park. The licensee stated that it contains a partially
burned Tigon carcass said to be named Young Yi and a black tarp covering a deceased tiger by the named of Dot.
There is a foul odor of decomposing flesh and many flies are present on the boards and surrounding areas.




Prepared By:
                                                                                                Date:
                   BOONE BONNIE, D V M            USDA, APHIS, Animal Care
                                                                                                23-JUN-2020
        Title:     VETERINARY MEDICAL OFFICER 6119

Received By:

                   JEFF LOWE
                                                                                                Date:
        Title:     LICENSEE                                                                     23-JUN-2020
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The improper or delayed disposal of carcasses has resulted as an attractant for flies and other pests. Fly trap bags
were observed to be present in the front public areas of the park but no fly traps were present in the back areas of
the park during the inspection. The flies have created fly strikes on many species in the park including tigers, lions,
and wolves. Fly strikes have resulted in large patches of painful ulceration on the ears, and legs on numerous
tigers, lions, and wolves. Ulcerated areas are red, have scabs and some have exuded pus or fresher blood. These
affected areas are missing hair, skin and/or deeper flesh. When the inspector pointed this out, the facility
representatives applied ointment to the ear tips of the tiger and lion cubs during the inspection.


One veterinarian, (but not the attending veterinarian), has been consulted for treatment of the fly strike on the above
mentioned animals. The complete burial or burning of dead carcasses must occur. Fly traps should be installed in
the back of the park or another safe and effective program for the control of insects, ectoparasites, and avian and
mammalian pests shall be established and maintained.


Correct by: June 24, 2020


The inspection and exit briefing were conducted with facility representatives.




Additional Inspectors
Cunningham Debbie, Veterinary Medical Officer




Prepared By:
                                                                                              Date:
                  BOONE BONNIE, D V M            USDA, APHIS, Animal Care
                                                                                              23-JUN-2020
        Title:    VETERINARY MEDICAL OFFICER 6119

Received By:

                  JEFF LOWE
                                                                                              Date:
        Title:    LICENSEE                                                                    23-JUN-2020
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                                               United States Department of Agriculture     Customer:        332646
                                              Animal and Plant Health Inspection Service   Inspection Date: 22-JUN-20
                                                     Species Inspected


Cust No          Cert No             Site         Site Name                                         Inspection
332646           73-C-0230             001        JEFFREY LOWE                                      22-JUN-20




Count        Scientific Name                                     Common Name
000004       Atelerix albiventris                                FOUR-TOED HEDGEHOG (MOST COMMON PET HEDGEHOG)
000003       Atherurus africanus                                 AFRICAN BRUSH-TAILED PORCUPINE
000003       Callithrix jacchus                                  COMMON MARMOSET
000002       Caluromys philander                                 BARE-TAILED WOOLLY OPOSSUM
000001       Camelus dromedarius                                 DROMEDARY CAMEL
000001       Canis aureus                                        GOLDEN JACKAL
000001       Canis latrans                                       COYOTE
000012       Canis lupus x c. l. familiaris                      WOLF/DOG HYBRID
000001       Capra hircus                                        DOMESTIC GOAT
000005       Caracal caracal                                     CARACAL
000001       Cercopithecus neglectus                             DE BRAZZA'S MONKEY
000001       Choloepus didactylus                                LINNAEUS'S TWO-TOED SLOTH
000001       Galago senegalensis                                 NORTHERN LESSER BUSHBABY
000001       Lama pacos                                          ALPACA
000007       Lemur catta                                         RING-TAILED LEMUR
000001       Lynx canadensis                                     CANADIAN LYNX
000008       Lynx rufus                                          BOBCAT
000001       Macaca mulatta                                      RHESUS MACAQUE
000001       Macaca nemestrina                                   PIG-TAILED MACAQUE
000001       Mephitis macroura                                   HOODED SKUNK
000002       Mephitis mephitis                                   STRIPED SKUNK
000004       Mustela putorius furo                               DOMESTIC FERRET
000001       Osphranter rufus                                    RED KANGAROO
000001       Otocyon megalotis                                   BAT-EARED FOX
000003       Ovis aries aries                                    SHEEP INCLUDING ALL DOMESTIC BREEDS
000015       Panthera leo                                        LION
000018       Panthera leo x p. tigris                            LION X TIGER HYBRID / LIGER / TIGON
000001       Panthera onca                                       JAGUAR
000078       Panthera tigris                                     TIGER
000001       Potos flavus                                        KINKAJOU
000001       Prionailurus viverrinus                             FISHING CAT
000012       Procyon lotor                                       RACCOON
000002       Puma concolor                                       PUMA / MOUNTAIN LION / COUGAR
000001       Saguinus midas                                      RED-HANDED TAMARIN
000001       Spermophilus richardsonii                           RICHARDSON'S GROUND SQUIRREL
000009       Sus scrofa domestica                                DOMESTIC PIG / POTBELLY PIG / MICRO PIG
000001       Ursus americanus                                    NORTH AMERICAN BLACK BEAR
000001       Ursus arctos horribilis                             GRIZZLY BEAR
000001       Vulpes lagopus                                      ARCTIC FOX
000003       Vulpes vulpes                                       RED FOX (INCLUDES SILVER FOX & CROSS FOX)




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                                      United States Department of Agriculture     Customer:        332646
                                     Animal and Plant Health Inspection Service   Inspection Date: 22-JUN-20
                                            Species Inspected


Cust No        Cert No        Site       Site Name                                         Inspection
332646         73-C-0230      001        JEFFREY LOWE                                      22-JUN-20




Count       Scientific Name                             Common Name
000212      Total




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              CFR : 3.131(d)        CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                              Certificate: 73-C-0230
Inspection No: 2016082569850135                                       Legal Name:
Description:                                                             JEFFREY LOWE
 Fly strike on the back of the ears of wolf in the back of the park




                                                                                               9
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      CFR : 2.40(a)(2)        CFR : 3.125(a)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                           Certificate: 73-C-0230
Inspection No: 2016082569850135                                                    Legal Name:
Description:                                                                          JEFFREY LOWE
 Kangaroo enclosure with a buried metal fence with an exposed 4 inch vertical edge
and a 4 inch gap from the enclosure wooden fence approximately 4 inches from the
fence. Possible limb injury




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       CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                           Certificate: 73-C-0230
Inspection No: 2016082569850135                                                    Legal Name:
Description:                                                                          JEFFREY LOWE
 Tiger enclosure with a solid vertical metal edge that is approximately 4 inches
from the enclosure fence. Possible limb injury




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       CFR : 3.131(d)        CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                    Certificate: 73-C-0230
Inspection No: 2016082569850135                             Legal Name:
Description:                                                   JEFFREY LOWE
 Fly strike on ears of tiger cubs in the back of the park




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       CFR : 3.131(d)        CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                               Certificate: 73-C-0230
Inspection No: 2016082569850135                                        Legal Name:
Description:                                                              JEFFREY LOWE
 Fly strike on the front of the ears of wolf in the back of the park




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     CFR : 3.131(d)   CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                            Certificate: 73-C-0230
Inspection No: 2016082569850135                     Legal Name:
Description:                                           JEFFREY LOWE
 Tiger with fly strike on ears




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       CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                             Certificate: 73-C-0230
Inspection No: 2016082569850135                      Legal Name:
Description:                                            JEFFREY LOWE
 Wounds on face of hybrid in the front of the park




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       CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                             Certificate: 73-C-0230
Inspection No: 2016082569850135                      Legal Name:
Description:                                            JEFFREY LOWE
 Wound on leg of lion cub in the front of the park




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      CFR : 2.40(b)(3)     CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Extremely thin brown bear named "Gizzy". Evident spinous process of vertebral
bodies, hip bones, and scapula




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     CFR : 3.131(d)   CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                            Certificate: 73-C-0230
Inspection No: 2016082569850135                     Legal Name:
Description:                                           JEFFREY LOWE
 Tiger with fly strike on ears




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      CFR : 2.40(b)(3)     CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Extremely thin brown bear named "Gizzy". Evident spinous process of vertebral
bodies, and hip bones




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      CFR : 2.40(b)(3)     CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Extremely thin brown bear named "Gizzy". Evident spinous process of vertebral
bodies, and hip bones




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       CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                             Certificate: 73-C-0230
Inspection No: 2016082569850135                      Legal Name:
Description:                                            JEFFREY LOWE
 Wound on face of hybrid in the front of the park




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       CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Wolf with a reddened and ulcerated injury/pressure sore on its hock. Wolf is
exhibiting lameness. Sparse strands of hay bedding in concrete floor enclosure




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      CFR : 2.40(a)(2)     CFR : 3.125(a)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                             Certificate: 73-C-0230
Inspection No: 2016082569850135                      Legal Name:
Description:                                            JEFFREY LOWE
 Sub-floor grate exposed in wolves enclosure




                                                                              23
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       CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Wolf with a reddened and ulcerated injury/pressure sore on its hock. Wolf is
exhibiting lameness. Sparse strands of hay bedding in concrete floor enclosure




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       CFR : 2.40(a)(2)      CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                              Certificate: 73-C-0230
Inspection No: 2016082569850135                                                       Legal Name:
Description:                                                                             JEFFREY LOWE
 Scattered hay strands observed in this photo despite veterinarians instructions to
provide additional bedding for geriatric wolves.




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      CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                        Certificate: 73-C-0230
Inspection No: 2016082569850135                                                 Legal Name:
Description:                                                                       JEFFREY LOWE
 Close up of partially burned tigon carcass named Young Yi. Numerous flies on
wood and surrounding areas.




                                                                                                         26
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      CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                          Certificate: 73-C-0230
Inspection No: 2016082569850135                                                   Legal Name:
Description:                                                                         JEFFREY LOWE
 Overview of lion cub named Nala laying in the mud. Cub is depressed, lethargic
and with purulent nasal and ocular discharge




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       CFR : 3.75(c)(1)(ii)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                           Certificate: 73-C-0230
Inspection No: 2016082569850135                                                    Legal Name:
Description:                                                                          JEFFREY LOWE
 Indoor portion of the NHP lemur enclosure resting platform with areas of rusted
through creating defeats and sharp edges.




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      CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                             Certificate: 73-C-0230
Inspection No: 2016082569850135                                                      Legal Name:
Description:                                                                            JEFFREY LOWE
 Lion cub laying in the mud, depressed, lethargic and with purulent nasal and ocular
discharge




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       CFR : 3.131(d)        CFR : 2.40(a)(2)      CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                               Certificate: 73-C-0230
Inspection No: 2016082569850135                                        Legal Name:
Description:                                                              JEFFREY LOWE
 Wound on the front right leg of a lion cub in the front of the park




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      CFR : 3.131(d)       CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Overview of partially burned tigon carcass named Young Yi and tiger named Dot
carcass under black tarp. Numerous flies on wood, tarp and surrounding areas.




                                                                                                          31
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      CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Extremely thin brown bear named "Gizzy". Evident spinous process of vertebral
bodies, hip bones, and scapula




                                                                                                          32
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      CFR : 2.40(a)(2)      CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                         Certificate: 73-C-0230
Inspection No: 2016082569850135                                                  Legal Name:
Description:                                                                        JEFFREY LOWE
 Facility representative text message responding to questions about Young Yi's
diagnosis of renal failure and lack of veterinary records




                                                                                                          33
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      CFR : 2.40(a)(2)     CFR : 3.125(a)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                     Certificate: 73-C-0230
Inspection No: 2016082569850135                                              Legal Name:
Description:                                                                    JEFFREY LOWE
 Sub-floor grate exposed in porcupine enclosure under the water receptacle




                                                                                                      34
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      CFR : 2.40(a)(2)     CFR : 3.125(a)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                  Certificate: 73-C-0230
Inspection No: 2016082569850135                                           Legal Name:
Description:                                                                 JEFFREY LOWE
 Sub-floor grate exposed in wolves enclosure under the water receptacle




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       CFR : 3.131(d)         CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                                 Certificate: 73-C-0230
Inspection No: 2016082569850135                                                          Legal Name:
Description:                                                                                JEFFREY LOWE
 Fly strike on the ears of the lion cub with significant destruction of tip of the ear




                                                                                                                  36
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       CFR : 3.131(d)         CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                     Certificate: 73-C-0230
Inspection No: 2016082569850135                              Legal Name:
Description:                                                    JEFFREY LOWE
 Fly strike on the back of the right ear of an adult tiger




                                                                                      37
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       CFR : 3.131(d)         CFR : 2.40(a)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                     Certificate: 73-C-0230
Inspection No: 2016082569850135                              Legal Name:
Description:                                                    JEFFREY LOWE
 Fly strike on the back of the right ear of an adult tiger




                                                                                      38
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       CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                                           Certificate: 73-C-0230
Inspection No: 2016082569850135                                                    Legal Name:
Description:                                                                          JEFFREY LOWE
 Lion cub Nala being loaded into transport crate to be taken to the veterinarian




                                                                                                            39
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              CFR : 2.40(a)(2)     CFR : 2.40(b)(2)




Photographer: DR. CUNNINGHAM
Date and Time: 22-JUN-20                                          Certificate: 73-C-0230
Inspection No: 2016082569850135                                   Legal Name:
Description:                                                         JEFFREY LOWE
 Fisher cat limping and exposed grate in sub-floor of enclosure




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